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 4
     Attorney for Defendant
 5   BISMARK MARTIN OCAMPO

 6

 7                        IN THE UNITED STATES DISTRICT COURT

 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,             )   2:07-cr-00248-08 WBS
                                           )
11                            Plaintiff,   )
                                           )   UNOPPOSED REQUEST TO MODIFY
12   v.                                    )   BRIEFING SCHEDULE; [PROPOSED]
                                           )   ORDER
13                                         )
     BISMARK MARTIN OCAMPO,                )
14                                         )
                             Defendant.    )
15   __________________________________    )

16         On June 15, 2015, Defendant, BISMARK MARTIN OCAMPO, filed a pro se

17   motion to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2).     CR 1338.

18   On February 11, 2016, the Court ordered the briefing schedule pertaining to

19   an amended motion to reduce sentence modified to await the final decision by

20   the Ninth Circuit on the petition for rehearing en banc granted in United

21   States v. Davis, 776 F.3d 1088 (9th Cir. 2015).   CR 1383.   Because the Ninth

22   Circuit has not yet issued a decision in Davis, the parties respectfully

23   request the Court again vacate the current briefing schedule and re-set a new

24   briefing schedule, as follows:

25         Amended motion to reduce sentence           July 14, 2016

26         Government’s opposition                     August 4, 2016

27         Defendant’s reply, if any                   August 11, 2016

28



                       UNOPPOSED REQUEST TO MODIFY BRIEFING SCHEDULE - 1
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 1            As previously stated, the parties agree the final decision of the Ninth

 2   Circuit on the petition for rehearing en banc in Davis is relevant to the

 3   Court’s determination of the issues raised in Mr. Ocampo’s motion to reduce

 4   sentence.     Accordingly, the parties respectfully stipulate and request that

 5   this Court modify the briefing schedule as set forth above.

 6   Dated: April 15, 2016                          BENJAMIN WAGNER
                                                    United States Attorney
 7
                                            By:      /s/ Jason Hitt
 8                                                  JASON HITT
                                                    Assistant United States Attorney
 9

10
     Dated: April 15, 2016                          /s/ Erin J. Radekin
11                                                  ERIN J. RADEKIN
                                                    Attorney for Defendant
12                                                  BISMARK MARTIN OCAMPO

13
                                            ORDER
14
              Pursuant to the parties’ stipulation, and good cause appearing, it is
15
     hereby ordered that the briefing schedule relating to defendant’s motion
16
     pursuant to § 3582(c)(2) be modified as follows:
17
              Amended motion to reduce sentence           July 14, 2016
18
              Government’s opposition                     August 4, 2016
19
              Defendant’s reply, if any                   August 11, 2016
20
     Dated:     April 15, 2016
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                          UNOPPOSED REQUEST TO MODIFY BRIEFING SCHEDULE - 2
